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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




                                                  Misc. Case No. 1:22mc-00021 (CRC)

 In re: SEALED MOTION.
                                                             (FILED UNDER SEAL)




            RODNEY JOFFE’S REPLY MEMORANDUM IN SUPPORT
         OF MOTION TO INTERVENE AND TO EXPUNGE REFERENCES
       TO TECH EXECUTIVE-1 BASED ON CONSTITUTIONAL VIOLATIONS
                    AND SUPPORTING MEMORANDUM

       Rodney Joffe, by and through his undersigned counsel, hereby submits this reply

memorandum in support of his Motion to Intervene and Expunge References to Tech Executive-

1 in the Court’s file in United States v. Sussmann, Criminal Case No. 21-582 (CRC). As set

forth below, the Office of Special Counsel’s (“OSC”) opposition to Mr. Joffe’s motion (cited

herein as “OSC Opp. at __”) ignores the reality of the circumstances it has precipitated and, like

its past filings referencing Mr. Joffe, is premised on incomplete and misleading factual

assertions. The opposition also fails to address the devastating effect that the OSC’s unnecessary

and reckless actions have had on Mr. Joffe and his family, and grossly underestimates this

Court’s ability to remedy the OSC’s past wrongs and prevent future harm, while still ensuring

reasonable public access to matters relevant to the Sussmann case. For these and the reasons
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previously set forth in Mr. Joffe’s Motion, we respectfully submit that the Motion should be

granted.

                                          ARGUMENT

       In its opposition, the OSC does not dispute the axiom that an individual’s Constitutional

rights are implicated where the government makes an accusation of criminal wrongdoing and

fails to afford the accused an opportunity to respond. See In re Smith, 656 F.2d 1101 (5th Cir.

1981); United States v. Chadwick, 556 F.2d 450 (9th Cir. 1977); United States v. Anderson, 55 F.

Supp.2d 1163 (D. Kan. 1999). The OSC fails to recognize, however, that the protection of an

individual’s due process rights is not limited to allegations of criminal wrongdoing. In that

regard, the Supreme Court has held that this protection extends to other circumstances “[w]here a

person's good name, reputation, honor, or integrity is at stake because of what the government is

doing to him . . . .” Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971) (holding that

Wisconsin statute authorizing police to post a notice in liquor stores prohibiting sales to a person

who allegedly has engaged in misconduct when intoxicated violated the due process clause

insofar as it failed to provide notice and an opportunity to be heard). This is precisely the case

here where the OSC has directly and unequivocally accused Mr. Joffe of wrongdoing and caused

him and his family substantial harm, even though the OSC now acknowledges that that Mr. Joffe

did not commit a crime.

       Notwithstanding the foregoing, the OSC relies on In re Interested Party 1, 530 F. Supp.

2d 136, 144 (D.D.C. 2008), and Paul v. Davis, 424 U.S. 693, 707-09 (1976), to argue that

“[s]tigma, ‘standing alone’ does not implicate due process.” Neither of those cases control here,

however, because Mr. Joffe does not base his request for relief on mere reputational harm alone.

Rather, consistent with In re Smith, 656 F.2d 1101 (5th Cir. 1981) – notably decided after Paul



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and repeatedly relied upon by other courts – Mr. Joffe holds a protected due process interest in

being free “from governmental accusations of criminal misconduct without” being afforded “a

proper forum for vindication.” United States v. Korean Air Lines, Ltd., 505 F. Supp. 2d 91, 93

(D.D.C. 2007) (citing Smith, 656 F.2d at 1106-07). Unlike the plaintiff in Paul, who had been

arrested and provided a forum to contest his charge, Mr. Joffe has no available forum to

challenge the OSC’s actions, thereby depriving him of any opportunity to be heard. See

Application of Jordan, 439 F. Supp. 199, 208-09 (S.D. W.Va. 1977) (distinguishing Paul

because the situation “differs from Paul v. Davis in that there is available to the petitioner no

other form or forum by which he may challenge the actions” and holding that petitioner was

denied due process rights). Indeed, this District has previously recognized that “courts generally

have found” disclosures revealing the identity of unindicted co-conspirators and making criminal

“accusations against the uncharged” “to violate the due process rights of the person revealed.”

Doe v. Hammond, 502 F. Supp. 2d 94, 102 (D.D.C. 2007) (citing, inter alia, United States v.

Briggs, 514 F.2d 794, 802-06 (5th Cir. 1975), and Smith, 656 F.2d at 1106)). Moreover, unlike

the individuals in Paul and Interested Party, Mr. Joffe also has suffered financial loss, including

the cost of private security and the loss of positions on two company boards and two additional

advisory boards, as a result of the OSC’s actions. See Motion at 10; Masvidal v. U.S. Dep’t of

Justice, 716 F. Supp. 2d 1207, 1212 (S.D. Fla. 2010) (“[W]hen considering that Masvidal has

alleged that his reputation was damaged in conjunction with the DOJ’s interference with his

private employment the Court is persuaded that Masvidal has adequately alleged a

constitutionally-protected interest.”) (citing Paul, Briggs, and Smith). For these reasons, the

OSC’s actions implicate Mr. Joffe’s due process rights and his motion presents an appropriate

case for the granting of relief.



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A.      The OSC Repeatedly Has Alleged That Mr. Joffe Engaged in Serious Wrongdoing,
        Knowing That He Has no Forum in Which He Can Challenge The Allegations.

        The OSC’s claim that it has not accused Mr. Joffe of wrongdoing is flatly contradicted by

the indictment and several of its other filings in the Sussmann case.1 In those documents, the

OSC alleges that Mr. Joffe engaged in a series of wrongful acts, including (1) “exploiting” his

access to “non-public data” to conduct “opposition research” regarding candidate Trump; (2)

knowingly “coordinating” his actions “with representatives and agents of the Clinton Campaign”

suggesting that his actions were infected with a partisan motive; (3) “creating” a “narrative”

regarding Trump’s ties to Russia based on a “political or business agenda”; (4) using his

supposed status as “a powerful figure,” to place pressure on the researchers to perform research

and reach a specific conclusion; and (5) selectively disclosing elements of the researchers’ work

to the government, rather than presenting a complete picture. Considering these allegations, it is

mind-boggling that the OSC would take the position that these are not allegations of wrongdoing

by Mr. Joffe. It is plain they are.

        It also is clear that Mr. Joffe has not been provided with a forum where he can challenge

the OSC’s allegations, and he and his family have been concretely harmed, not merely

stigmatized, by them, as we described in our initial motion memorandum. Notably, the OSC

does not address Mr. Joffe’s assertions about the effect of these allegations on him and his

family, although the OSC refuses to accept any responsibility for the results of its actions.

Instead, they argue that “stigma” alone is not sufficient to sustain a claim for violation of an

individual’s right to due process. In this case, however, the harm goes beyond mere “stigma”

and involves direct and substantial financial loss to Mr. Joffe, which Mr. Joffe can support with


1
 This includes the OSC’s Opposition to Defendant’s Motion for a Bill of Particulars, Docket Entry 19 (Oct. 20,
2021), and the OSC’s Motion to Inquire Into Potential Conflicts of Interest, Docket Entry 35 (Feb. 11, 2022) (the
“Motion to Inquire”).

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evidence if the Court provides him with an opportunity to do so, as well as significant emotional

distress associated with the threats and harassment that Mr. Joffe and his family have endured.

B.       The OSC’s Detailed Description of Mr. Joffe and His Alleged Actions Impelled His
         identification and Directly Caused Harm to Him and His Family.

         Predictably, the OSC also attempts to hide behind the fiction that because it has not

identified Mr. Joffe by name in the indictment or subsequent filings, the OSC acted appropriately

and Mr. Joffe has no recourse. The OSC also attempts to argue that because Mr. Joffe first

issued a public statement, this Court should not hold it accountable for the way it portrayed Mr.

Joffe, tarring him with allegations of wrongdoing and exposing him and his family to threats of

violence and harassment. Again, however, the OSC ignores the stark reality of what its actions

have wrought. Its argument, moreover, elevates form over substance and ignores the mountain

of evidence that the OSC, in the indictment and subsequent filings, did identify Mr. Joffe with

sufficient particularity that his identity was widely reported within days of the return of the

indictment.

         In the real world, not the world by the OSC’s opposition, this is what transpired:

        On September 14, 2021, two days before the indictment was returned, a reporter for The
         New York Times contacted Mr. Joffe directly (see Exhibit A).

        On September 15, 2021, a day before the indictment was returned, The New York Times,
         which apparently had been tipped that the OSC would be presenting an indictment the
         next day, ran a story titled, Durham Is Said to Seek Indictment of Lawyer at Firm with
         Democratic Ties (see Exhibit B).2 As the article reflects, when confronted with the fact
         that the article would name Mr. Joffe, undersigned counsel provided a brief statement for
         the record “on the condition that The New York Times not name [Mr. Joffe] in th[e]
         article, citing a fear of harassment . . . .”

        Commencing as early as September 15, 2021, Twitter was ablaze with tweets identifying
         Mr. Joffe as Tech Executive-1. To demonstrate that fact, we have prepared and attached
         a 28-page spreadsheet reflecting 244 tweets and other mentions of Mr. Joffe between

2
  Rule 6(e)(2) of the Federal Rules of Criminal Procedure imposes on obligation of secrecy on various individuals
regarding matters occurring before the grand jury. Notwithstanding this requirement, it appears that someone told
The New York Times that an indictment would be presented on September 16, 2021.

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       September 15 and September 30, 2021, including by individuals with tens of thousands
       of followers (see Exhibit C). This spreadsheet does not include the thousands of retweets
       of these tweets and mentions which exponentially expanded the identification of Mr.
       Joffe as Tech Executive-1.

      On September 16, 2021, the day the indictment was returned, undersigned counsel
       received an email from a Bloomberg reporter stating, among other things: I understand
       that your client, who is referred in the indictment as Tech Executive-1, is Rodney Joffe . .
       . .” (see Exhibit D).

      One day later, after receiving a polite “no comment” response from undersigned counsel,
       the same reporter emailed again, stating: “I’m writing again to say that we are preparing
       to report that Rodney Joffe is the person referred to as Tech Executive-1 in the Michael
       Sussmann indictment. Do you have a comment about that . . . .” (see Exhibit E).
       Undersigned counsel again provided no comment.

      On or about September 30, 2021, when confronted with the reality that Mr. Joffe had
       been widely identified as Tech Executive-1 and would be identified in an upcoming
       article in The New York Times, undersigned counsel provided another brief statement for
       the record. (See Exhibit F)

This chronology of events immediately before and after the return of the indictment vividly

demonstrates that Mr. Joffe was identified as a direct result of the nearly 70 times Mr. Joffe is

mentioned in the indictment, including details of his employment, legal and professional

affiliations, and communications with others, the overwhelming majority of which were wholly

unnecessary or could have been presented in a far less specific way. Mr. Joffe was not

identified because he decided that, after weeks of being the subject of false and misleading

allegations and harassment, and knowing that he had been identified, he would make a brief

statement for the record defending himself and his actions.

       The OSC also fails to respond to the fact that after undersigned counsel sent them a

lengthy letter on October 27, 2021, detailing our concerns about the indictment’s false,

misleading, and unnecessary allegations against Mr. Joffe, and notifying them of the threats and

harassment that those allegations had caused Mr. Joffe and his family, the OSC escalated its

attack by including more unnecessary, false and misleading allegations in its Motion to Inquire.

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At that point, the OSC unquestionably knew that the identity of Tech Executive-1 had been

widely reported and any expansion of the allegations against him – like those that the OSC

included in the Motion to Inquire – would fuel further threats and harassment against Mr. Joffe

and his family, which it did. Indeed, the filing produced such a vitriolic and distorted reaction,

including in mainstream media reports, that the OSC feebly attempted to distance itself from and

deny responsibility for the byproduct of its actions.3

        Notwithstanding this fact, in an attempt to justify its actions, the OSC points to other

recent “high-profile” prosecutions where individuals were identified by pseudonyms and their

identity became a matter of public interest. Those cases, however, are easily distinguished from

the instant case. First, many of them involved public figures, including “a political commentator

who worked with an online media publication”, “a radio host”, a “Former Congressman”, a

“Reporter”, and “Individual 1” (former President Trump). Moreover, none of those matters

involved allegations of wrongdoing by the unnamed individuals as stark, specific and detailed as

those relating to Mr. Joffe in the indictment against Mr. Sussmann. Finally, the mere fact that

other individuals have chosen not to challenge the government’s practice of identifying

uncharged individuals in other indictments in a way that made their identities a foregone

conclusion does not mean that the practice is lawful or acceptable. Thus, the OSC’s reliance on

those cases is misplaced.4




3
  See the OSC’s Response to the Defendant’s Cross-Motion to Strike, Docket Entry 40 (Feb. 17, 2022) at 1-2
(acknowledging the possibility that “third parties or members of the media [may] have overstated, understated, or
otherwise misinterpreted facts contained in the Government’s Motion . . . .”).
4
  The OSC also argues that because Mr. Joffe “thrust” these matters into the public domain in 2016, he cannot claim
a Constitutional violation now. As the OSC well knows, however, Mr. Joffe never “thrust” himself into the public
domain. On the contrary, he was not publicly identified as Mr. Sussmann’s client or as a source for any media
reporting about the alleged Trump/Alfa/Spectrum connection until the OSC effectively disclosed his identity in the
indictment.

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C.      The OSC Has Persisted and Will Persist in Harming Mr. Joffe Absent Relief From
        This Court.

        The OSC’s opposition also provides yet another example of its penchant for impugning

Mr. Joffe by presenting and characterizing pieces of evidence in support of its narrative, while

intentionally omitting other more probative evidence that directly contradicts its theory. In doing

so, the OSC blithely states that it “does not wish to engage in a detailed factual debate over these

matters here . . . .” OSC Opp. At 10. Ironically, that statement highlights the nature of the

grievous wrong that has been perpetrated upon Mr. Joffe and the fact that he has no forum in

which to seek relief, and therefore, the critical importance of this Court taking action.

        As an example, it its opposition, the OSC quotes email exchanges between the

researchers and Mr. Joffe where the words “task,” “narrative,” and “inference” are used. Based

on the phrasing of the emails, the OSC has alleged in the indictment and other filings that Mr.

Joffe was directing the researchers and asking that they reach a specific conclusion without

regard to what the data suggested. Indeed, we understand that the OSC has repeatedly asked the

researchers questions aimed at supporting this theory, including whether the researchers’

investigation of DNS data suggesting the possibility of further Russian cyber aggression aimed at

the 2016 election cycle, was a “Joffe-drive endeavor.”5 The complete facts paint a very different

picture.

        First and foremost, despite the OSC’s repeated prodding of and threats of prosecution for

obstruction of justice or making false statements against the researchers, we understand that all

three of the researchers have advised the OSC that Mr. Joffe did not task or direct them, nor did

he pressure them to reach a specific conclusion. Indeed, the evidence is undisputed that the



5
 As we noted in our initial motion and memorandum, but it bears repeating here, the researchers’ work was
undertaken in the wake of reports of Russian hacks of the White House and the DNC.

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researchers discovered the concerning data and came to Mr. Joffe, not that he tasked them to find

the data in the first place. Moreover, Mr. Joffe’s employer was actually a supplier of DNS data

for two of the researchers. Thus, they were his customers and he effectively “worked for them,”

not the other way around. The third researcher was employed by a different company that had a

license to access DNS data lawfully acquired and owned by another company in which Mr. Joffe

holds a minority ownership interest. The third researcher, like the other two, also did not report

to Mr. Joffe. Finally, it is noteworthy that the OSC did not highlight the fact that when Mr. Joffe

communicated with the researchers in one of the emails the OSC quotes, he did not ask or direct

that they falsify or manipulate their research or findings. He used the words, “a true story that

could be used as a basis for closer examination.” OSC Opp. at 10 (emphasis added). In short,

the Court should put an end to the OSC’s efforts to impugn Mr. Joffe by unnecessarily disclosing

in public filings cherry-picked phrases from emails, taken out of context and contradicted by

witness statements in the possession of the OSC.6




6
  Mr. Joffe understands that evidence regarding the indictment’s allegations, including those that mention him will
be presented at trial (unless excluded based on a motion in limine). Mr. Joffe also appreciates and respects that the
Court will rule on the admissibility of the evidence and that certain matters that have generated threats and
harassment against him and his family may again be aired in public. At this point, Mr. Joffe simply seeks relief from
the public filing of allegations against him before and, depending on the Court’s rulings on the admissibility of the
evidence, after trial.

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                                           CONCLUSION

          Based on the foregoing, Mr. Joffe respectfully requests that this Court enter an Order

granting this motion to intervene and to expunge all references to Tech Executive-1 from the

Court’s file in the Sussmann case. Mr. Joffe also requests that the Court enter an order

prohibiting the parties in that case from making any further public allegations of wrongdoing by

Tech Executive-1, including in any report regarding the grand jury’s investigation, unless and

until the Court has ruled that such evidence is admissible at trial in the Sussmann case. Finally,

Mr. Joffe requests that his motion and the attached exhibits, as well as all related submissions, be

filed under seal until further order of the Court and that the Court grant such other relief as may

be necessary and appropriate to remedy the OSC’s intentional violation of his Constitutional

rights.

Dated: March 10, 2022                                          Respectfully submitted,


                                                       /s/ Steven A. Tyrrell
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2022, I caused the foregoing to be filed and served via

electronic mail upon all counsel of record:


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